 8:11-cr-00071-RFR-MDN            Doc # 55    Filed: 04/20/11   Page 1 of 1 - Page ID # 96



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                    8:11CR71
       vs.                                   )
                                             )                     ORDER
ALBERTO VILLALBA-LOPEZ,                      )
                                             )
                                             )
                     Defendant.


      This matter is before the court on defendant's MOTION FOR EXTENSION OF TIME
TO FILE PRETRIAL MOTIONS [54]. For good cause shown, I find that the motion should
be granted. The defendant will be given an approximate 60-day extension. Pretrial
Motions shall be filed by June 17, 2011.

       IT IS ORDERED:

     1.    Defendant's MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL
MOTIONS [54] is granted. Pretrial motions shall be filed on or before June 17, 2011.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between April 18, 2011 and June
17, 2011, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 20th day of April, 2011.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
